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                     EXHIBITD
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                                United States District Court
                               Southern District of New York


Virginia L. Giuffre,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

V.

Ghislaine Maxwell,

               Defendant.
- - - - - - - - - - - - - -I
         PLAINTIFF, VIRGINIA GIUFFRE'S FOURTH REVISED DISCLOSURE
                        PURSUANT TO FED. R. CIV. P. 26

       COMES NOW the Plaintiff, Virginia L. Giuffre, by and through her undersigned counsel,

and serves this revised disclosure pursuant to Fed. R. Civ. P. 26 and states as follows:

A.     Witnesses:

       1.      Virginia L. Giuffre
               c/o Sigrid S. Mccawley, Esq.
               Boies, Schiller & Flexner LLP
               401 East Las Olas Boulevard, Suite 1200
               Miami, Florida 33301
               Tel: (954) 356-0011
               Email: smccawley@bsfllp.com

               Plaintiff - information regarding Defendant, Ghislaine Maxwell's conduct that is
               the subject of this action


       2.      Ghislaine Maxwell
               c/o Laura A. Menninger, Esq.
               HADDON, MORGAN & FOREMAN, P.C.
               150 East 10th Avenue
               Denver, Colorado 80203
               Tel: (303) 831-7364
               Email: lmenninger@hmflaw.com

               Defendant in this action.

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       3.     Juan Alessi


              Telephone number unknown at this time

               May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors.


       4.     Maria Alessi

              Telephone number unknown at this time

               May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors.


       5.     Kathy Alexander
              Address unknown at this time.
              Telephone number unknown at this time.
              Believed to be in South Africa.

               May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors.


       6.     Miles Alexander
              Address unknown at this time.
              Telephone number unknown at this time.
              Believed to be in South Africa.

               May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors.


       7.     Doug Band
              President of Teneo Holdings, 601 Lexington Avenue, 45 th Floor,
              New York, NY 10022, Tel: (212) 886-1600

              Was present on flights with Jeffrey Epstein and Ghislaine Maxwell and President
Clinton and may have knowledge of Jeffrey Epstein and Ghislaine Maxwell's sexual trafficking
conduct and interactions with minors.


       8.     Gwendolyn Beck

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               May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors.


       9.     Sophie Biddle



               May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors.


       10.




               Was present on flights with Jeffrey Epstein, Ghislaine Maxwell and Virginia
Guiffre and may have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors.


       11.    Fary Bjorlin
              Address Unknown
              Telephone Number Uknown

               May have information relating to Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors.


       12.    Kelly Bovino

              Telephone number unknown at this time

               May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors.


       13.    Jean Luc Brunel
              c/o Joe Titone, Esq.
              621 South East 5th Street, Pompano Beach, FL 33060
              Tel: (954) 729-6490



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               Was present on flights with Jeffrey Epstein, Ghislaine Maxwell and Virginia
Guiffre and has information about Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       14.    Ron Burkle
              Address unknown at this time
              Telephone number unknown at this time

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct.


       15.    -
              Address unknown at this time.
              Telephone number unknown at this time

                Worked for Ghislaine Maxwell and has information about Ghislaine Maxwell's
recruiting of girls for Jeffrey Epstein.


       16.    Carolyn Casey
              Address unknown at this time.
              Telephone number unknown at this time.

              May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors.


       17.    Alyson Chambers
              c/o Marshall Dore Louis, Esq.
              Sinclair, Louis & Zavertnik, P.A.
              40 N.W. 3rd Street, Suite 200, Miami, FL 33128
              Tel: (305) 374-0544

               Worked for Jeffrey Epstein as a masseuse during the time that Virginia Giuffre was
living and traveling with Jeffrey Epstein and Ghislaine Maxwell, and has information about
Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking conduct.


       18.    William Jefferson Clinton
              55 West 125 Street
              New York, NY 10027

              Travelled with Jeffrey Epstein and Ghislaine Maxwell and may have information
about Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking conduct.

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       19.    Maximilia Cordero
              Address unknown at this time
              Telephone number unknown at this time

               May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct.


       20.    Valdson Cotrin
              Address unknown at this time
              Telephone number unknown at this time

               May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct.


       21.    Chauntae Davies

              Telephone number unknown at this time

               Was present on flights with Jeffrey Epstein, Ghislaine Maxwell and may have
information about Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking conduct and
interaction with underage minors.


       22.    Teala Davies

              Telephone number unknown at this time

               Was present on flights with Jeffrey Epstein, Ghislaine Maxwell and may have
information about Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking conduct and
interaction with underage minors.


       23.    Anouska DeGeorgieou

              Telephone number unknown at this time

               May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors.


       24.    Alan Dershowitz
              c/o Richard A. Simpson, Esq.
              WILEY REIN, LLP
              1776 K Street NW
              Washington, D.C. 20006
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              Tel: (202) 719-7000

              Has knowledge of Defendant's conduct that is the subject of this action.


       25.    Ryan Dionne
              Address unknown at this time
              Telephone number unknown at this time

              May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct.


       26.    Eva Anderson Dubin


              Telephone number unknown at this time

               Was present on flights with Jeffrey Epstein, Ghislaine Maxwell and has
information about Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking conduct and
interaction with underage minors.


       27.    Glen Dubin


              Telephone number unknown at this time

               Was present on flights with Jeffrey Epstein, Ghislaine Maxwell and has
information about Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking conduct and
interaction with underage minors.


       28.
              Address unknown at this time.
              Telephone number unknown at this time.

               May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors.


       29.    Prince Andrew Albert Christian Edward, Duke of York
              Buckingham Palace Rd, London SWlA lAA


              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors, including Virginia Giuffre.
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       30.    Records Custodian for Travel for Prince Andrew Albert Christian Edward, Duke of
              York
              Buckingham Palace Rd, London SWlA lAA


              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors, including Virginia Giuffre.


       31.    Jeffrey Epstein
              c/o Marty Weinberg, Esq.
              20 Park Plaza, Suite 1000, Boston, MA 02116


              Has knowledge of Defendant's conduct that is the subject of this action and
knowledge of his sexual trafficking operation and other co-conspirators.


       32.    Tatiana Espinoza
              Address unknown at this time
              Telephone number unknown at this time

               May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors.


       33.    Annie Farmer
              Address unknown at this time.
              Telephone number unknown at this time.

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors, including Virginia Giuffre.


       34.    Marie Farmer
              Address unknown at this time.
              Telephone number unknown at this time.

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors, including Virginia Giuffre.


       35.    Vicky Ward
              Address unknown at this time
              Telephone unknown at this time
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              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors, including Virginia Giuffre.


       36.    Frederic Fekkai
              Address unknown at this time
              Telephone number unknown at this time

              Has knowledge of Defendant's conduct that is the subject of this action.


       37.    Tony Figueroa

              Telephone number unknown at this time

              Has knowledge of Defendant's conduct that is the subject of this action.


       38.    Luciano "Jojo" Fontanilla



              Jeffrey Epstein's staff member in his various homes and may have knowledge of
Defendant and Jeffrey Epstein's inappropriate conduct with underage girls.


       39.    Lynn Fontanilla

              Telephone number unknown at this time

              May have knowledge of Defendant's conduct that is the subject of this action.


       40.    Michael Friedman

              Telephone number unknown at this time

              Former house staff and may have knowledge of Ghislaine Maxwell and Jeffrey
Epstein's sexual trafficking conduct and interaction with minors.


       41.    Rosalie Friedman

              Telephone number unknown at this time



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              Former house staff and may have knowledge of Ghislaine Maxwell and Jeffrey
Epstein's sexual trafficking conduct and interaction with minors.


         42.   Ross Gow
               Acuity Representation
               23 Berkeley Square
               London WU 6HE



               Defendant's press agent who has knowledge of the defamatory statements in this
case.

         43.   Tiffany Kathryn Gramza

               Telephone number unknown at this time

               May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors


         44.   -
               Address unknown at this time
               Telephone number unknown at this time

               May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct.


         45.   Amanda Grant
               Address unknown at this time
               Telephone number unknown at this time

               May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct.


         46.   Lesley Groff
               Address unknown at this time
               Telephone number unknown at this time

               May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct.


         47.
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              Has information about Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and abuse and interaction with underage minors.


       48.    Claire Hazel
              Address unknown at this time
              Telephone number unknown at this time

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors


       49.    Shelly Harrison
              Address unknown at this time
              Telephone number unknown at this time

              May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors


       50.    Gina Ignatieva
              Address Unknown
              Telephone number unknown at this time

              May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       51.    Brett Jaffe
              Address noted on Defendant's Rule 26 disclosures

              Defendant's attorney.


       52.
              Address unknown at this time
              Telephone number unknown at this time

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors
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       53.    Sarah Kensington Vickers formerly Sarah Kellen
              c/o Bruce Reinhart, Esq.
              McDonald Hopkins LLC
              505 S Flagler Dr Ste 300
              West Palm Beach, FL 33401-5942
              Tel: 561- 472-2121

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interactions with minors.


       54.    Tatiana Kovylina

              Telephone number unknown at this time

              May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors


       55.

              Telephone number unknown at this time

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors


       56.    Adam Perry Lang
              Address unknown at this time
              Telephone number unknown at this time

              Traveling chef for Jeffrey Epstein and Ghislaine Maxwell and may have knowledge
of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking conduct and interaction with
underage minors.


       57.
              Address unknown at this time
              Telephone number unknown at this time

              May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors


       58.    Michael Liffman
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              Address unknown at this time
              Telephone number unknown at this time

              May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct.


       59.    Peter Listerman
              Address unknown at this time
              Telephone number unknown at this time

              May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors


       60.    Cindy Lopez
              Address unknown at this time
              Telephone number unknown at this time

              May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors


       61.    Melinda Lutz
              Address unknown at this time
              Telephone number unknown at this time

              May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors


       62.    Cheri Lynch
              Address unknown at this time
              Telephone number unknown at this time

              May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       63.    Nadia Marcinko formerly Nadia Marcinkova
              c/o Jack Goldberger, Esq.
              Atterbury, Goldberger, & Weiss, P.A.
              250 Australian Ave South, Ste 1400
              West Palm Beach, FL 33401-5012
              Tel: (561) 659-8300



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              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors


       64.    Bob Meister



               May have information about Ghislaine Maxwell and Jeffrey Epstein's sexual
trafficking conduct and interaction with underage minors.


       65.    Todd Meister



              May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors


       66.    Brahakmana Mellawa
              Address unknown at this time
              Telephone number unknown at this time

                House staff who may have know ledge of Ghislaine Maxwell and Jeffrey Epstein's
sexual trafficking conduct and interaction with underage minors.


       67.    Jayarukshi Mellawa
              Address unknown at this time
              Telephone number unknown at this time

                House staff who may have know ledge of Ghislaine Maxwell and Jeffrey Epstein's
sexual trafficking conduct and interaction with underage minors.


       68.
              Address unknown at this time
              Telephone number unknown at this time

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       69.    Andrea Mitrovich
              Address Unknown
              Telephone number unknown at this time.
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              Knowledge of Defendant's conduct that is the subject of this action.

       70.    Bill Peadon

              Telephone number unknown at this time

                House staff that may have knowledge of Ghislaine Maxwell and Jeffrey Epstein's
sexual trafficking conduct and interaction with underage minors.


       71.    Francis Peadon

              Telephone number unknown at this time

                House staff that may have knowledge of Ghislaine Maxwell and Jeffrey Epstein's
sexual trafficking conduct and interaction with underage minors.


       72.    Tom Pritzker
              Address unknown at this time
              Telephone number unknown at this time

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       73.    Dara Preece
              Address Unknown
              Telephone Unknown at this time

              May have knowledge of Defendant's conduct in this action.

       74.    Louella Rabuyo
              Address unknown at this time
              Telephone unknown at this time

                House staff that may have knowledge of Ghislaine Maxwell and Jeffrey Epstein's
sexual trafficking conduct and interaction with underage minors.


       75.    Joseph Recarey


              Telephone number unknown at this time.



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              Detective Recarey was the chief investigator of the crimes committed at Jeffrey
Epstein's Palm Beach mansion and has information about Ghislaine Maxwell and Jeffrey
Epstein's sexual trafficking conduct and interaction with underage minors.


       76.    Chief Michael Reiter


              Telephone number unknown at this time.

              Police Chief Reiter oversaw the investigation of the crimes committed at Jeffrey
Epstein's Palm Beach mansion and has information about Ghislaine Maxwell and Jeffrey
Epstein's sexual trafficking conduct and abuse of underage minors.


       77.    Bill Richardson
              Address unknown at this time
              Telephone number unknown at this time

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       78.    Rinaldo Rizzo
              c/o Robert Lewis, Esq.
              Freeman Lewis LLP
              228 E. 45 th Street, 1ih Floor
              New York, NY 10017
              Tel: 212-980-4084

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       79.    Haley Robson
              Address unknown at this time
              Telephone number unknown at this time

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       80.    Sky Roberts




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              Family member who may have knowledge of Ghislaine Maxwell and Jeffrey
Epstein's sexual trafficking conduct and interaction with underage minors.


       81.    David Rodgers
              c/o Bruce E. Reinhart, Esq.
              McDonald Hopkins LLC
              505 S Flagler Dr Ste 300
              West Palm Beach, FL 33401-5942
              Tel: 561- 472-2121

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       82.    Adriana Ross formerly Adriana Mucinska
              c/o Alan S. Ross, Esq.
              Tel: (305) 858-9550

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       83.    Johanna Sjoberg
              c/o Marshall Dore Louis, Esq.
              40 N.W. 3rd Street, Suite 200, Miami, FL 33128
              Tel: (305) 374-0544

               Worked for Jeffrey Epstein during the time when Virginia Giuffre was living and
traveling with Jeffrey Epstein and Ghislaine Maxwell. Johanna Sjobjerg was also present at an
occasion with Prince Andrew, Ghislaine Maxwell, and Virginia Giuffre when Ms. Giuffre was a
mmor.


       84.    Kelly Spamm
              Address unknown at this time
              Telephone number unknown at this time

              May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       85.    Cecilia Stein
              Address unknown at this time
              Telephone number unknown at this time



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              May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       86.    Emmy Taylor
              Address unknown at this time
              Telephone number unknown at this time

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       87.    Evelyn Valenzuela
              Address unknown at this time
              Telephone number unknown at this time

              May have knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct.


       88.    Larry Visosky
              c/o Bruce E. Reinhart, Esq.
              Tel: (561) 202-6360
              Telephone number unknown at this time

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       89.    Leslie Wexner
              c/o John W. Zeiger, Esq., Zeiger, Tigges & Little LLP
              41 South High Street, Suite 3500, Columbus, Ohio 43215
              Tel: (614) 365-9900

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       90.    Courtney Wild
              c/o Bradley Edwards, Esq.
              FARMER, JAFFE, WEISSING,
              EDWARDS, FISTOS & LEHRMAN, P.L.
              425 North Andrews Avenue, Suite 2
              Fort Lauderdale, Florida 33301
              Tel: (954) 524-2820


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              Has information about Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       91.    Doug Wilson



              Family member who may have knowledge of Ghislaine Maxwell and Jeffrey
Epstein's sexual trafficking conduct and interaction with underage minors.


       92.    Igor Zinoview
              Address unknown at this time
              Telephone number unknown at this time

              Has knowledge of Ghislaine Maxwell and Jeffrey Epstein's sexual trafficking
conduct and interaction with underage minors.


       93.    All females identified in the police reports or identified through the United State's
              Attorney's office during or through the criminal investigation of Jeffrey Epstein
              and his co-conspirators.


       94.      All other then-minor girls, recruited by Ghislaine Maxwell, whose identities Ms.
Giuffre will attempt to determine, with whom Defendant, Ghislaine Maxwell and Jeffrey Epstein,
have engaged in sexual activity.


       95.    All pilots, chauffeurs, chefs, and other employees of either Defendant Maxwell or
              Jeffrey Epstein with knowledge of Defendant and Jeffrey Epstein's inappropriate
              conduct with underage girls.


       96.    All staff and employees at the Mar-a-Lago Club during 1999-2002.


       97.    All other witnesses learned through discovery process.

B.     Relevant Documents:

       1. All files held by the Palm Beach Police Department or the Palm Beach State
          Attorney's office which are publically available.

       2. All press releases of Ghislaine Maxwell or on her behalf

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      3. The video(s) of Ghislaine Maxwell adopting the January, 2015 press statement.

      4. All newspaper or other media where Ghislaine Maxwell's press release appears

      5. All evidence obtained by the Federal Bureau of Investigations which relate in any way
         to Jeffrey Epstein or Ghislaine Maxwell.

      6. All 302 statements that relate in any way to Jeffrey Epstein or Ghislaine Maxwell.

      7. All evidence obtained by the FBI or United States Attorney's office by or through the
         criminal investigation of Alfredo Rodriguez.

      8. All documents relating to the previous subpoenas served on Defendant for her
         deposition and all documents related in any way to that deposition.

      9. All documents evidencing visitors or passengers at any of Jeffrey Epstein owned or
         controlled property or aircraft.

      10. All documents demonstrating the relationship between Bill Clinton and Jeffrey Epstein
          or Ghislaine Maxwell.

      11. All photos of Ghislaine Maxwell at Chelsea Clinton's wedding.

      12. All documents or information refuting statements made by Ghislaine Maxwell.

      13. All documents and information relating to Prince Andrews travel, including travel to
              New York City and the Caribbean, in 1999 to 2002.

      14. All documents and information from Shopper's Travel evidencing travel, flight records
          or passenger manifests during the relevant period.

      15. All documents and information from David Rigg, Aviation Insurance Agent evidencing
          travel, flight records or passenger manifests during the relevant period.

C.    Exhibits:

      1.     Palm Beach Police Department report and documents contained within Jeffrey
             Epstein's criminal files, attached hereto as Exhibit 1.

      2.     March 10, 2011 Statement on behalf of Ghislaine Maxwell by Media agent Ross
             Gow, attached hereto as Exhibit 2.

      3.     September 3, 2008 Victim Notification Letter, attached hereto as Exhibit 3.

      4.     May 1, 2009 Complaint in Jane Doe No. 102 v. Jeffrey Epstein, CIV-09-80656, in
             the Southern District of Florida, attached hereto as Exhibit 4.


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 5.    FBI 302 Statement, attached hereto as Exhibit 5.

 6.    Flight Logs, attached hereto as Composite Exhibit 6.

 7.    Message Pads from Law Enforcement from trash pull of Jeffrey Epstein's Palm
       Beach home, attached hereto as Exhibit 7.

 8.    Jeffrey Epstein's Phone Book, also referred to as his "Black Book," attached hereto
       as Exhibit 8.

 9.    Deposition of Sarah Kellen, attached hereto as Composite Exhibit 9.

 10.   Deposition Transcripts of Juan Alessi, attached hereto as Exhibit 10.

 11.   Deposition Transcripts of Alfredo Rodriguez, attached hereto as Exhibit 11.

 12.   January 2, 2015 Corrected Joinder Motion [DE 280] filed in the CVRA action
       pending in the Southern District of Florida, attached hereto as Exhibit 12. [All
       paragraphs between "The Government then concealed from Jane Doe No. 3
       the existence of the NPA (pg. 3) and "The Government was well aware of Jane
       Doe No. 3 when it was negotiating the NPA" (pg. 6) were stricken by Judge
       Marra.]

 13.   January 21, 2015 Declaration of Jane Doe No. 3 filed in the CVRA action pending
       in the Southern District of Florida, attached hereto as Exhibit 13. [Paragraphs 4, 5,
       7, 11, 13, 15, 19-53, and 59 were stricken by Judge Marra]

 14.   February 6, 2015 Declaration of Jane Doe No. 3 filed in the CVRA action pending
       in the Southern District of Florida, attached hereto as Exhibit 14. [Paragraphs 7-
       12, 16, 39 and 49 were stricken by Judge Marra.]

 15.   November 25, 2015 Affidavit of Virginia Giuffre, filed in the Bradley Edwards and
       Paul Cassell v. Alan Dershowitz matter, pending in the Seventeenth Judicial
       Circuit, Broward County, Florida, attached hereto as Exhibit 15.

 16.   Virginia Roberts' passport, attached hereto as Exhibit 16.

 17.   Judge Thomas Lynch's January 12, 2016 Confidentiality Order regarding Virginia
       Giuffre's deposition, attached hereto as Exhibit 17.

 18.   Documents produced and bates labelled Non-Party VR 000001 - Non-Party VR
       000644, in the Bradley Edwards and Paul Cassell v. Alan Dershowitz matter,
       pending in the Seventeenth Judicial Circuit, Broward County, Florida, attached
       hereto as Exhibit 18.

 19.   Victims Refuse Silence Articles of Incorporation and Amendment, attached hereto
       as Composite Exhibit 19.

 20.   Victims Refuse Silence By-laws, attached hereto as Exhibit 20.
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      21.   Victims Refuse Silence 2016 Annual Report, attached hereto as Exhibit 21.

      22.   January 3, 2015 Daily Mail article: "Harvard Law Professor Named Alongside
            Prince Andrew in 'Sex Slave' Case Accuses Alleged Victim of 'Making Up
            Stories,"' attached hereto as Exhibit 22.

      23.   January 3, 2015 Press Statement issued by Ross Gow to Express set forth in
            "Ghislaine Maxwell: I was not a madam for paedophile," attached as Exhibit 23.

      24.   January 4, 2015 Statement by Ghislaine Maxwell to New York Daily News
            Reporter "Alleged Madam Accused of Supplying Prince Andrew With Underage
            Teen for Sex Spotted in NYC-As He's Seen Cutting Swiss Vacation Short to Face
            Queen," attached hereto as Exhibit 24.

      25.   February 1, 2015 Mirror article: "Prince Andrew's Pal Ghislaine Maxwell May Sue
            Over Madam Allegations," attached hereto as Exhibit 25.

      26.   September 23, 2007 Red Ice Creations Article "Prince Andrew's Friend, Ghislaine
            Maxwell, Some Underage Girls, and A Very Disturbing Story," attached hereto as
            Exhibit 26.

      27.   Photographs, attached hereto as Exhibit 27.

      28.   April 13, 2010 Deposition Transcript of Nadia Marcinkova, attached hereto as
            Exhibit 28.

D.    Computation of damages:

      1.    Physical, psychological and psychiatric injuries and resulting medical expenses - in
            an amount of approximately $ 102,200 present value.

            a.    Computation Analysis:

                   1.    Giuffre has had to receive treatment for the psychological harm as a
                         result of Maxwell's conduct towards Giuffre.

                  11.    The average annual expenditures for mental health services for adults
                         18-64 in the United States is $1,751.

                 111.    Giuffre needs continuing care as a result of the harm she has suffered.
                         Ms. Giuffre was born August 9, 1983 and was 31.4 years old at the
                         beginning of 2015 when the alleged harm occurred. The average
                         remaining life expectancy for a 31 year old female is 51.1 years.

                 1v.     Based on a remaining life expectancy of 51.1 years, annual healthcare
                         cost growth of 3.3% and a discount rate of 2.7%, the present value of
                         expected treatment costs is $102,200 as of 1/1/2015.
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       b.    Supporting Evidence:

              1.    Ms. Giuffre is in the process of collecting records from her physicians

             11.    Ms. Giuffre's testimony

            111.    Ms. Giuffre is in the process of retaining an expert to calculate
                    damages, and will provide further information through expert
                    disclosure.

 2.    Past, present and future pain and suffering, mental anguish, humiliation,
       embarrassment, loss of self-esteem, loss of standing in the community, loss of
       dignity and invasion of privacy in her public and private life not less than
       $30,000,000.00.

       a.    Computation Analysis

              1.    Under New York law, defamation per se as alleged in this case
                    presumes damages and special damages do not need to be plead and
                    proven. See Celle v. Filipino Reporter Enterprises Inc., 209 F.3d 163,
                    179 (2 nd Cir. 2000) (Second Circuit holding that '[i]f a statement is
                    defamatory per se, injury is assumed. In such a case 'even where the
                    plaintiff can show no actual damages at all, a plaintiff who has
                    otherwise shown defamation may recover at least nominal damages'
                    and the Second Circuit also confirmed an award of punitive
                    damages). Ms. Giuffre has been severely damaged by the defamation
                    of the defendant, by calling her claims of sexual abuse "obvious lies".
                    The defamation caused Ms. Giuffre to re-live the sexual abuse she
                    previously endured. Ms. Giuffre has suffered and continues to suffer
                    from the pain, mental anguish, humiliation, embarrassment, loss of
                    self-esteem, loss of standing in the community, loss of dignity and
                    invasion of privacy in her public and private life. The computation of
                    this amount is in the province of the jury but Ms. Giuffre contends,
                    including but not limited to, awards in other similar matters, that the
                    amount is not less than $30,000,000.00. Ms. Giuffre is in the process
                    of retaining an expert, and will provide further information through
                    expert disclosure.



       b.    Supporting Evidence

              1.    Ms. Giuffre's testimony

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             11.    Witness testimony

            111.    Awards in similar matters

            1v.     Ms. Giuffre is in the process of retaining an expert, and will provide
                    further information through expert disclosure.



 3.   Punitive Damages - to be based upon all relevant factors, including the egregious
      nature of Defendant, Ghislaine Maxwell's conduct and the need for a large award to
      punish and deter conduct in view of the vast wealth of Defendant Maxwell, in an
      amount not less than $50,000,000.00.

       a.    This calculation is in the province of the jury.




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Dated: June 24, 2016.


                                                      Respectfully Submitted,

                                                      BOIES, SCHILLER & FLEXNER LLP

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1 This daytime business address is provided for identification and correspondence purposes only and is not intended to

imply institutional endorsement by the University of Utah for this private representation.
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                                 CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that a true and correct copy of the above and foregoing

Disclosure Pursuant to Fed. R. Civ. P. 26 has been provided by United States mail and electronic

mail to all counsel of record identified below, on this 24th day of June, 2016.

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                                                         By: Isl Sigrid Mccawley
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